                                                                                     Case 2:17-cv-05752-R-RAO Document 15 Filed 10/27/17 Page 1 of 2 Page ID #:60


                                                                                                                                                     (SPACE BELOW FOR FILING STAMP ONLY)

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                                                                                      5
                                                                                        Attorneys for Defendants BRANT PUTNAM,
                                                                                      6 M.D., JANINE VINTCH, M.D., ANISH
                                                                                        MAHAJAN, M.D., CHRISTIAN DE VIRGILIO,
                                                                                      7 M.D., HAL F. YEE, M.D., ROGER LEWIS, M.D.,
                                                                                        and MITCHELL KATZ, M.D.
                                                                                      8
                                                                                      9                           UNITED STATES DISTRICT COURT
                                                                                                     CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
BALLARD ROSENBERG GOLPER & SAVITT, LLP




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                                         15760 VENTURA BOULEVARD, EIGHTEENTH FLOOR




                                                                                     12 TIMOTHY RYAN, M.D., an                       Case No. 2:17-cv-05752-R-RAO
                                                                                        individual,
                                                  ENCINO, CALIFORNIA 91436




                                                                                     13                                              DEFENDANTS' NOTICE OF MOTION AND
                                                                                                     Plaintiff,                      MOTION TO DISMISS PLAINTIFF'S
                                                                                     14                                              FIRST AMENDED COMPLAINT (DOC.
                                                                                               vs.                                   14) BASED ON QUALIFIED IMMUNITY,
                                                                                     15                                              OR, ALTERNATIVELY, TO STRIKE
                                                                                        BRANT PUTNAM, M.D., an                       PORTIONS THEREOF
                                                                                     16 individual, JANINE VINTCH, M.D., an
                                                                                        individual, ANISH MAHAJAN, M.D.,             [FED. R. CIV. P. 12(b), (b)(1), (b)(6)]
                                                                                     17 an individual, CHRISTIAN DE
                                                                                        VIRGILIO, M.D., an individual, HAL           Date:          December 4, 2017
                                                                                     18 F. YEE, M.D., an individual, ROGER           Time:          10:00 a.m.
                                                                                        LEWIS, M.D., an individual,                  Ctrm:          880
                                                                                     19 MITCHELL KATZ, M.D., an
                                                                                        individual, and DOES 1 through 50,           Action Filed: August 3, 2017
                                                                                     20 inclusive,                                   Trial Date:   None Set
                                                                                     21                   Defendants.
                                                                                     22
                                                                                     23              TO ALL PARTIES AND THEIR COUNSEL OF RECORD:
                                                                                     24              PLEASE TAKE NOTICE that on December 4, 2017, at 10:00 a.m. or as soon
                                                                                     25 thereafter as the matter may be heard before the Honorable Manuel L. Real in
                                                                                     26 Courtroom 880 of the above-entitled Court, located at the Roybal Federal Building
                                                                                     27 and U.S. Courthouse, 255 East Temple Street, Los Angeles, CA 90012, Defendants
                                                                                     28 Brant Putnam, M.D., Janine Vintch, M.D., Anish Mahajan, M.D., Christian De

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                                                                                      1 Virgilio, M.D., Hal F. Yee, M.D., Roger Lewis, M.D., and Mitchell Katz, M.D.,
                                                                                      2 jointly and severally (collectively "Defendants"), will, and hereby do, move this
                                                                                      3 Court pursuant to Fed. R. Civ. P. 12(b)(6) for an Order dismissing, with prejudice,
                                                                                      4 the sole claim for relief in the First Amended Complaint for Retaliation Based on
                                                                                      5 Exercise of First Amendment Rights (Doc. 14) ("FAC") filed by Plaintiff Timothy
                                                                                      6 Ryan, M.D. ("Plaintiff"), on the grounds that Defendants are entitled to qualified
                                                                                      7 immunity on Plaintiff's claim under 42 U.S.C. § 1983, and the FAC fails to state a
                                                                                      8 claim upon which relief can be granted against Defendants.
                                                                                      9              This Motion is based on this Notice, the Memorandum of Points and
                                                                                     10 Authorities and Declaration of John J. Manier attached hereto, all pleadings and
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                                                                                     11 papers on file in the instant action, and any other matters that may be considered by
                                         15760 VENTURA BOULEVARD, EIGHTEENTH FLOOR




                                                                                     12 the Court at any hearing on this Motion.
                                                  ENCINO, CALIFORNIA 91436




                                                                                     13              This Motion is made following a conference of counsel pursuant to L.R. 7-3
                                                                                     14 which commenced on October 20, 2017.
                                                                                     15
                                                                                          DATED: October 27, 2017                BALLARD ROSENBERG
                                                                                     16                                            GOLPER & SAVITT, LLP
                                                                                     17
                                                                                     18                                          By:
                                                                                     19                                                John J. Manier
                                                                                                                                 Attorneys for Defendants BRANT PUTNAM,
                                                                                     20                                          M.D., JANINE VINTCH, M.D., ANISH
                                                                                     21                                          MAHAJAN, M.D., CHRISTIAN DE
                                                                                                                                 VIRGILIO, M.D., HAL F. YEE, M.D., ROGER
                                                                                     22                                          LEWIS, M.D., and MITCHELL KATZ, M.D.
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